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15                               NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17
     COMMUNITY LEGAL SERVICES IN EAST )                 Case No. 3:25-cv-02847-AMO
18   PALO ALTO, ET AL.,                 )
                                        )               DEFENDANTS’ OPPOSITION TO MOTION
19              Plaintiffs,             )               FOR TEMPORARY RESTRAINING ORDER
                                        )               AND PRELIMINARY INJUNCTION
20     v.                               )
                                        )               Date: April 1, 2025
21   UNITED STATES DEPARTMENT OF        )               Time: 10:00 a.m.
     HEALTH AND HUMAN SERVICES, ET AL., )               Location: Courtroom 10
22                                      )
                Defendants.             )               Hon. Araceli Martínez-Olguín
23                                      )               United States District Judge
                                        )
24                                      )
                                        )
25                                      )

26

27

28

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 1                                        I.      INTRODUCTION

 2          The Court should deny Plaintiffs’ extraordinary request for a temporary restraining order and

 3 preliminary injunction, ECF No. 7 (“motion”). Plaintiffs’ motion is legally unfounded, factually

 4 overstated, and disregards both the statutory and regulatory discretion Congress expressly conferred upon

 5 the federal government. The relief they seek would not preserve the status quo, but instead disrupt the

 6 government’s longstanding management of legal services for unaccompanied alien children (“UAC”)—

 7 services that remain subject to available appropriations and the agency’s judgment.

 8          Plaintiffs are legal service providers seeking to compel the United States Department of Health

 9 and Human Services (“HHS”) Office of Refugee Resettlement (“ORR”), to indefinitely fund direct legal

10 representation for UAC through specific contracting arrangements. But the governing statute—the

11 William Wilberforce Trafficking Victims Protection Act of 2008 (“TVPRA”), Pub. L. No. 110-457

12 (codified in principal part at 8 U.S.C. § 1232)—expressly conditions any such representation on

13 practicability and the availability of pro bono counsel. It does not create an enforceable right to

14 government-funded representation, let alone compel the agency to maintain any particular scope of

15 services or contractual relationship. Similarly, the regulatory language Plaintiffs cite, the Foundational

16 Rule, codified at 45 C.F.R. § 410.1309(a)(4), confirms that ORR’s obligation to fund direct representation

17 is contingent on both available appropriations and ORR’s discretionary determinations. Congress never

18 mandated indefinite funding for these services, and nothing in the TVPRA or ORR’s Foundational Rule
19 suggests otherwise.

20          As a threshold matter, Plaintiffs seek to convert a discretionary, resource-dependent program into

21 a judicially enforceable entitlement. That effort fails as a matter of law. Plaintiffs lack organizational

22 standing, cannot show that the termination decision constitutes final agency action reviewable under the

23 APA and can identify no statutory or regulatory provision that imposes a binding duty on the government

24 to maintain uninterrupted direct representation contracts.        At most, Plaintiffs disagree with the

25 government’s policy judgment to conserve resources and reallocate funding within the broad framework

26 of the TVPRA—a judgment that courts have repeatedly held is committed to agency discretion.

27          Regardless, this Court lacks jurisdiction over what is, at bottom, a dispute over the partial

28 termination of a federal contract. Under the Tucker Act and the Contract Disputes Act, challenges to

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 1 government contract terminations must be brought in the U.S. Court of Federal Claims. Plaintiffs’ attempt

 2 to recast a contract termination as a violation of the Administrative Procedure Act (“APA”), 5 U.S.C.

 3 § 701, et seq., cannot circumvent that exclusive remedial scheme. Moreover, decisions regarding whether

 4 and how to terminate government contracts—particularly for the government’s convenience—are classic

 5 examples of actions committed to agency discretion and are not subject to judicial review under the APA.

 6          Nor can Plaintiffs establish any of the equitable factors required for injunctive relief. Their claims

 7 of irreparable harm rest on speculative predictions about staffing decisions and funding shortfalls that are

 8 neither immediate nor irreversible. Nothing in the record suggests that Plaintiffs are barred from

 9 continuing their work, pursuing other funding sources, or seeking relief through the dispute resolution

10 provisions of the contract, setting aside the fact that none of the plaintiffs are actually a party to that

11 agreement. A TRO’s extraordinary relief is not an appropriate mechanism for restructuring federal

12 contract policy to align with a particular group of stakeholders’ policy preferences, particularly where the

13 asserted harms are financial and the underlying legal theory is without merit. The Court should therefore

14 deny Plaintiffs’ motion.

15                                          II.      BACKGROUND

16          A.      Legal Framework

17          The statutory and regulatory framework governing legal representation for UAC in federal care

18 and custody reflects a coordinated scheme established by Congress to balance the protection of vulnerable
19 children with the Executive’s discretion over immigration and programmatic resource allocation. This

20 framework primarily originates in two statutes: the Homeland Security Act of 2002 (“HSA”) and the

21 TVPRA.

22                  1.      The Homeland Security Act (“HSA”)

23          In 2002, Congress enacted the HSA, Pub. L. No. 107-296, 116 Stat. 2135 (codified in relevant part

24 at 6 U.S.C. § 279), abolishing the Immigration and Naturalization Service (“INS”) and transferring the

25 responsibility for the care and placement of UAC from INS to ORR. 6 U.S.C. §§ 279(a), (b)(1)(A), (g)(2).

26          The HSA defines a UAC as “a child who—(A) has no lawful immigration status in the United

27 States; (B) has not attained 18 years of age; and (C) with respect to whom— (i) there is no parent or legal

28 guardian in the United States; or (ii) no parent or legal guardian in the United States is available to provide

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 1 care and physical custody.” 6 U.S.C. § 279(g)(2). Further, it assigns ORR broad authority over the care

 2 and custody of UAC while they are in federal custody due to their immigration status, including

 3 coordinating their care and placement, ensuring their best interests in custodial decisions, and developing

 4 plans to “ensure that qualified and independent legal counsel is timely appointed to represent the interests

 5 of each such child.” 6 U.S.C. § 279(b)(1)(A). These responsibilities are carried out through cooperative

 6 agreements and contracts with care providers under ORR policies and oversight. See 6 U.S.C. § 279(b)(1);

 7 31 U.S.C. § 6305.

 8                 2.      The Trafficking Victims Protection Reauthorization Act (“TVPRA”)

 9          Congress enacted the TVPRA in 2008 to strengthen protections for UAC and support their safe

10 repatriation or appropriate placement. The statute, consistent with the HSA, makes the Secretary of HHS

11 responsible for the care and custody of UAC. 8 U.S.C. § 1232(b)(1). The TVPRA explicitly directs HHS

12 to prioritize the utilization of pro bono counsel and does not mandate direct government-funded legal

13 representation: Section 235 of the TVPRA encourages HHS to ensure UAC have counsel “to the greatest

14 extent practicable” and “make every effort to utilize the services of pro bono counsel who agree to provide

15 representation without charge.” 8 U.S.C. § 1232(c)(5).

16          Further, Section 235 encourages HHS to ensure that counsel is available to represent UAC in “legal

17 proceedings or matters,” expressly linking representation duties with protecting children from

18 “mistreatment, exploitation, and trafficking.” Additionally, it cross-references Section 292 of the
19
     Immigration and Nationality Act (“INA”), which specifies representation “at no expense to the
20
     Government.” 8 U.S.C. § 1362. Therefore, it is clear that HHS is not required to fund access to legal
21
     counsel for UAC. The TVPRA’s language and structure demonstrate Congress’s intent to establish public-
22
     private partnerships and encourage pro bono counsel as the primary source of legal assistance for UC, and
23

24 conferring on ORR exclusive discretion to determine when direct government-funded representation

25 might be utilized (e.g., where pro bono resources are impractical or unavailable).

26                 3.      The Foundational Rule
27          In April 2024, ORR promulgated the Unaccompanied Children Program Foundational Rule,

28 codified at 45 C.F.R. Part 410, to establish comprehensive regulations governing its UAC program. The

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 1 Rule, which became effective July 1, 2024, formalized previously informal procedures and explicitly

 2 articulated ORR’s discretion regarding legal representation funding. Specifically, the Rule provides that

 3 ORR “shall fund legal service providers to provide direct immigration legal representation for certain

 4 unaccompanied children” only “to the extent ORR determines that appropriations are available,” and only

 5 if securing pro bono counsel is impractical. 45 C.F.R. § 410.1309(a)(4).

 6          In contrast, other subsections impose mandatory obligations. For instance, the Rule explicitly

 7 requires ORR to ensure UAC receive mandatory services such as a “presentation concerning the rights

 8 and responsibilities of undocumented children,” “information regarding the availability of free legal

 9 assistance,” and a “confidential legal consultation.” 45 C.F.R. § 410.1309(a)(2)(i)-(v). This intentional

10 distinction clarifies that direct funding for legal representation remains discretionary, conditional upon the

11 availability of appropriations, and subject to agency determination. The Rule also reinforces congressional

12 policy choices articulated in the TVPRA, highlighting the preferred reliance on pro bono counsel and

13 emphasizing that direct representation services funded by ORR are not guaranteed and remain subject to

14 the agency’s discretionary resource management.

15                  4.      Appropriations Acts and Congressional Intent

16          Congress periodically appropriates funds to support ORR’s UAC program, including legal

17 services. Appropriations language, however, consistently remains broad and nonspecific regarding

18 precise funding allocations. Ex. A, Declaration of Toby Biswas (“Biswas Decl.”), ¶ 16. For example, the
19 Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, provides general appropriations to

20 execute activities under Section 235 of the TVPRA without earmarking explicit amounts for direct legal

21 representation. This general appropriation approach allows ORR flexibility in determining the allocation

22 of resources based on agency priorities, the availability of pro bono counsel, and shifting immigration

23 policy needs. Biswas Decl., ¶ 16.

24          Subsequent acts, including the Full-Year Continuing Appropriations and Extensions Act, 2025,

25 Pub. L. No. 119-4, similarly maintain funding levels and provide broad discretion without altering

26 statutory obligations or imposing specific mandates for funding legal representation. Id. This ongoing

27 legislative practice underscores Congress’s intent to maintain flexibility for ORR, allowing the agency to

28 prioritize resources efficiently and adaptively. Id. Such discretionary funding practices reflect a

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 1 longstanding Congressional policy to balance support for legal services with practical constraints,

 2 prioritizing public-private partnerships and pro bono resources where feasible, rather than imposing fixed

 3 or rigid funding mandates. Id.

 4          Indeed, at least one other court has considered this issue and determined that Congress did not

 5 specify what types of legal services ORR must fund with the appropriations intended for carrying out

 6 Section 235 of the TVPRA. Lucas R. v. Becerra, No. CV 18-5741, 2022 WL 2177454, at *31 (C.D. Cal.

 7 Mar. 11, 2022). Rather, ORR is “entitled to prioritize what type of legal representation ORR supports with

 8 appropriated funds, in furtherance of the TVPRA.” Id. The same analysis applies here: without a mandate

 9 from Congress in the most recent appropriations legislation, ORR has discretion to prioritize what types

10 of services it funds to further the purpose of the TVPRA.

11                 5.      The Current Contract and Termination Decision

12          The present dispute arises from ORR’s partial termination and descoping of a federal contract

13 administered by the Department of the Interior (“DOI”), which serves as the contracting agent through its

14 Interior Business Center. Id. ¶ 13. ORR directed DOI to partially terminate a contract previously funding

15 direct legal representation services. Id. ¶¶ 12–13. This termination was executed through a formal decision

16 memorandum signed by the Acting Assistant Secretary of the Administration for Children and Families

17 (“ACF”). Id. ¶¶ 13–14.

18          ORR’s decision reflects a deliberate exercise of statutory discretion to prioritize available

19 appropriations and pro bono legal services. While general direct representation contract funding was

20 terminated, ORR maintains other legally required activities, including “know your rights” presentations

21 and confidential legal screening consultations. Id. ¶ 5, 11.

22          This contract termination aligns with ORR’s statutory and regulatory discretion under the TVPRA,

23 the Foundational Rule, and relevant appropriations acts, none of which mandate continuous, direct legal

24 representation funding when viable alternatives, such as pro bono representation, exist.          Id. ¶ 14.

25 Additionally, the termination decision reflects ORR’s commitment to fiscal responsibility, ensuring that

26 limited resources are allocated effectively, prudently managing public funds, and preserving governmental

27 flexibility to respond to evolving priorities and urgent programmatic needs. Id. ¶ 11, 16.

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 1                                    III.     STANDARDS OF REVIEW

 2          Preliminary injunctive relief “is an extraordinary and drastic remedy,” Lopez v. Brewer, 680 F.3d
 3 1068, 1072 (9th Cir. 2012) (internal quotation marks and citation omitted), that is “never awarded as of

 4 right,” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (internal quotation marks and citation

 5 omitted); see also Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001)

 6 (noting that the standard for issuing a temporary restraining order is “substantially identical” to the

 7 standard for issuing a preliminary injunction). Thus, this relief “should not be granted unless the movant,

 8 by a clear showing, carries the burden of persuasion.” Lopez, 680 F.3d at 1072 (internal quotation marks

 9 and citation omitted; emphasis in original). This is a “difficult task.” Earth Island Inst. v. Carlton, 626

10 F.3d 462, 469 (9th Cir. 2010). To prove their entitlement to such relief, Plaintiffs must establish that: (1)

11 they are likely to succeed on the merits, (2) are likely to suffer irreparable harm in the absence of

12 preliminary relief, (3) the balance of equities tips in their favor, and (4) an injunction is in the public

13 interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Under the Ninth Circuit’s sliding

14 scale test for preliminary injunctive relief, “serious questions going to the merits” and “a hardship balance

15 that tips sharply toward the plaintiff can support issuance of an injunction, assuming the other two

16 elements of the Winter test are also met.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1132 (9th

17 Cir. 2011).

18                                            IV.      ARGUMENT
19          A.      Plaintiffs cannot demonstrate that they are likely to succeed on the merits.
                    1.      Plaintiffs lack standing because they are not within the zone of interests that
20
                            8 U.S.C. § 1232 is intended to protect.
21          Plaintiffs lack standing because the statutory provision that, according to Plaintiffs, ensures that
22 UAC have access to legal counsel, 8 U.S.C. § 1232(c)(5), was not intended to protect Plaintiffs. When an

23 organization challenges an agency action under the APA, the organization must show that it is within the

24 “zone of interests” that the statute was meant to protect. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 883

25 (1990); I.N.S. v. Legalization Assistance Project of Los Angeles Cnty. Fed’n of Lab., 510 U.S. 1301, 1305

26 (1993). To fall within the “zone of interests” of a statutory provision, “the plaintiff must establish that the

27 injury he complains of (his aggrievement, or the adverse effect upon him) falls within the ‘zone of

28

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 1 interests’ sought to be protected by the statutory provision whose violation forms the legal basis for his

 2 complaint.” Lujan v. Nat’l Wildlife Federation, 497 U.S. 871, 883 (1990); Match-E-Be-Nash-She-Wish

 3 Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012). When a plaintiff brings an APA claim

 4 against a federal agency, courts look to “the statute that [the plaintiff] says was violated,” rather than the

 5 APA itself to determine whether the party’s injury is within the zone of interests. Match-E-Be-Nash-She-

 6 Wish, 567 U.S. at 224 (quotation marks omitted). While an “explicit mention” of Congress’s intent is not

 7 required, something in the “particular provision of law upon which the plaintiff relies” must indicate that

 8 Congress intended to protect the organization. Pit River Tribe v. BLM, 793 F.3d 1147, 1157 (9th Cir.

 9 2015) (citation omitted). That an agency rule or policy may affect the way an organization allocates its

10 resources does not give standing to an entity which is not within the zone of interests the statute meant to

11 protect. Legalization Assistance Project, 510 U.S. at 1305.

12          Nothing in the text of 8 U.S.C. § 1232(c)(5), nor in the legislative history, indicates that Congress

13 enacted the legal-services provision to address the financial interests of organizations such as Plaintiffs in

14 this case. Rather, the plain text focuses on the interests of the UAC: it requires HHS, to the greatest extent

15 practicable and “consistent with 8 U.S.C. § 1362,” to ensure that certain UAC “have counsel to represent

16 them in legal proceedings or matters and protect them from mistreatment, exploitation, and trafficking.”

17 Id. § 1232(c)(5). This provision protects UAC from mistreatment, not to line Plaintiffs’ pocketbooks with

18 taxpayer funding. Indeed, when reviewing the statute as a whole, the only intended beneficiary of
19 subsection (c), entitled “Providing safe and secure placements for children,” are UAC. 1

20          Moreover, Congress’s caveat that such legal services must be “consistent with 8 U.S.C. 1362”

21 demonstrates that Congress did not intend for the government to front the bill for legal services or to pay

22 organizations, such as Plaintiffs. 8 U.S.C. § 1362 provides that aliens have the right to representation in

23 immigration proceedings, as long as the representation is “at no expense to the Government.” Congress’s

24
     1
     Each sub-subsection provides safeguards for ensuring the safety of UAC who are in HHS’s custody. See
25 id. § 1232(c)(1) (requiring agencies to implement policies to protect UAC from trafficking, victimization,
   and exploitation); id. § 1232(c)(2) (requiring UAC to be placed in the least restrictive setting that is in
26 their best interest); id. § 1232(c)(3) (requiring that UAC be placed with custodians who will provide for

27 their well-being); id. § 1232(c)(4) (ensuring that custodians receive legal orientation explaining the
   custodian’s responsibility to ensure that the UAC appear at immigration proceedings and are protected
28 from harm); id. § 1232(c)(5) (see supra); id. § 1232(c)(6) (authorizing HHS to appoint child advocates for
   UAC who are particularly vulnerable).
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 1 reference to this statutory provision allows no room for doubt: Congress directed HHS to refrain from

 2 using taxpayer funding to pay for UAC legal services in immigration proceedings. Further, the second

 3 part of § 1232(c)(5) confirms that Congress did not intend to financially benefit legal-services

 4 organizations. Congress required that HHS “shall make every effort to utilize the services of pro bono

 5 counsel” who will represent UAC “without charge.” Id. § 1232(c)(5). Congress intended that HHS would

 6 not spend money on legal services for UAC and, instead, would seek counsel who would represent UAC

 7 without using taxpayer funding. Id.

 8          Further, Congress’s provision for funding child advocates in subsection (c) implies that Congress’s

 9 silence—or, indeed, prohibition—regarding funding for legal services confirms that Congress never

10 intended for legal-service providers to receive taxpayer funding. “[I]t is generally presumed that Congress

11 acts intentionally and purposely when it includes particular language in one section of a statute but omits

12 it in another.” BFP v. Resolution Trust Corp., 511 U.S. 531 (1994) (internal quotation marks omitted).

13 Congress explicitly provides federal funding for child advocates, and thereby intends to benefit child

14 advocates, in subsection (c)(6). By comparison, in subsection (c)(5), Congress discourages federal funding

15 for legal-service providers, mandating that HHS secure “pro bono” counsel and prohibiting federal

16 funding for counsel in immigration proceedings. The juxtaposition of these two subsections leaves no

17 doubt as to Congress’s intent: federal funding should not be used to fund legal-service organizations like

18 Plaintiffs.
19          That Plaintiffs have lost funding and need to reallocate resources does not place them within the

20 zone of interests that Congress meant to protect. Accordingly, Plaintiffs likely cannot show that they have

21 standing to challenge HHS’s funding decisions under the APA.

22                  2.     The APA does not waive sovereign immunity for the monetary relief Plaintiffs
                           seek.
23
            Plaintiffs are also unlikely to succeed on the merits of their claim because they seek monetary
24
     relief, and the APA does not waive sovereign immunity over such claims. Although styled as a request
25
     for declaratory and injunctive relief, the relief that they seek is simple: they want to compel the United
26
     States to continue making payments—relief precluded under the APA.
27

28

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 1          “It is axiomatic that the United States may not be sued without its consent and that the existence

 2 of consent is a prerequisite for jurisdiction.” United States v. Mitchell, 463 U.S. 206, 212 (1983).

 3 Accordingly, before a court may exercise jurisdiction over any suit against the United States, the plaintiff

 4 must unequivocally show that the United States has waived sovereign immunity, and that their claims fall

 5 squarely within the terms of that waiver. United States v. White Mountain Apache Tribe, 537 U.S. 465,

 6 472 (2003) (citations omitted); see also Lane v. Pena, 518 U.S. 187, 192 (1996) (stating that the waiver

 7 of sovereign immunity cannot be implied, but “must be unequivocally expressed in statutory text.”).

 8          Relevant here, the APA only waives sovereign immunity over actions seeking relief “other than

 9 monetary damages.” 5 U.S.C. § 702. The APA “does not waive sovereign immunity for contract claims

10 seeking equitable relief.” N. Star Alaska v. United States, 14 F.3d 36, 38 (9th Cir. 1994) (cleaned up). As

11 a result, a court must carefully discern whether a request dressed up as a claim for injunctive or declaratory

12 relief is actually seeking monetary relief, as “any claim for legal relief can, with lawyerly inventiveness,

13 be phrased in terms of an injunction.” Great-W. Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 211

14 n.1 (2002).

15          The APA does not provide a waiver of sovereign immunity here because the relief Plaintiffs seek

16 is payment. Specifically, Plaintiffs ask this Court to: (1) declare that “Defendants are required to continue

17 funding legal representation to unaccompanied alien children, consistent with the TVPRA and ORR’s

18 Foundational Rule; (2) enjoin Defendants nationwide from ceasing to fund counsel to represent
19 unaccompanied alien children in violation of the TVPRA and the Foundational Rule; (3) to declare that

20 Defendants’ actions violate the APA; and (4) to set aside Defendants’ actions. ECF No. 1 at 39 (emphases

21 added). 2 Regardless of how Plaintiffs label their request for relief, the result of granting any of their

22 requests is the same: HHS must continue paying Acacia, and consequently, continue paying Plaintiffs.

23 The APA does not waive sovereign immunity for such a claim, and thus, this Court lacks jurisdiction to

24 order Defendants to provide Plaintiffs with the monetary relief they seek. N. Star Alaska, 14 F.3d at 38.

25

26

27   2
     Page number references, when to filings on the Court’s docket in this case, are to the page number in
28 the header supplied by the Court’s ECF system.

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 1          The APA also does not provide a waiver of sovereign immunity here because HHS’s funding

 2 decision under the TVPRA and the Foundational Rule are discretionary. The APA does not permit judicial

 3 review of “agency action” that “is committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). The

 4 TVPRA provides HHS broad discretion in determining how to provide legal services to UAC. While

 5 Section 235 mandates that HHS ensure that counsel is available to represent UAC “to the greatest extent

 6 practicable” in “legal proceedings or matters,” it also cross-references the provision of the INA—8 U.S.C.

 7 § 1362—which specifies that “the privilege” of being represented in removal proceedings is “at no

 8 expense to the Government.” The TVPRA also directs HHS to “make every effort to utilize the services

 9 of pro bono counsel who agree to provide representation without charge.” 8 U.S.C. § 1232(c)(5). Likewise,

10 the Foundational Rule explicitly articulates ORR’s discretion regarding legal representation funding. It

11 provides that ORR “shall fund legal service providers to provide direct immigration legal representation

12 for certain unaccompanied children” only “to the extent ORR determines that appropriations are

13 available,” and only if securing pro bono counsel is impractical. 45 C.F.R. § 410.1309(a)(4). The decision

14 to fund direct legal services is “subject to ORR’s discretion and available appropriations.” Id.

15          Moreover, Congress’s funding of ORR’s UAC program, including legal services, demonstrates

16 that HHS has been allowed discretion in how it allocates resources. For example, the Further Consolidated

17 Appropriations Act, 2024, Pub. L. No. 118-47, provides general appropriations to execute activities under

18 Section 235 of the TVPRA without earmarking explicit amounts for direct legal representation. And
19 subsequent acts, including the Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. L.

20 No. 119-4, similarly maintain funding levels and provide broad discretion without altering statutory

21 obligations or imposing specific mandates for funding legal representation. Id. ¶ 16. This ongoing

22 legislative practice underscores Congress’s intent to maintain flexibility for ORR, allowing the agency to

23 prioritize resources efficiently and adaptively. Id.; see also 6 U.S.C. 279(b)(1) (making the Director of

24 ORR responsible for activities including coordinating and implementing the care of UAC and

25 implementing policies with respect to the care and placement of unaccompanied alien children);

26 8 U.S.C. § 1232(i) (authorizing the Secretary of HHS to “award grants to, and enter into contracts with,

27 voluntary agencies to carry out this section and section 279 of title 6.”).

28

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 1           The Court therefore lacks jurisdiction because decisions about the substance of HHS’s decision to

 2 reallocate resources from direct representation into other aspects of the UAC program is firmly committed

 3 to the agency’s discretion. In Lincoln v. Vigil, 508 U.S. 182 (1993), the Supreme Court held that the

 4 Indian Health Service’s decision to discontinue a program it had previously funded and to instead

 5 reallocate those funds to other programs was committed to agency discretion by law and thus not

 6 reviewable under the APA’s reasoned-decision making standards. See id. at 185–88. The Court explained

 7 that the “allocation of funds from a lump-sum appropriation is” an “administrative decision traditionally

 8 regarded as committed to agency discretion,” because the “very point of a lump-sum appropriation is to

 9 give an agency the capacity to adapt to changing circumstances and meet its statutory responsibilities in

10 what it sees as the most effective or desirable way.” Id. at 192.

11           Indeed, an agency’s allocation of funds from a lump-sum appropriation requires “a complicated

12 balancing of a number of factors which are peculiarly within its expertise”: whether its “resources are best

13 spent” on one program or another; whether it “is likely to succeed” in fulfilling its statutory mandate;

14 whether a particular program “best fits the agency’s overall policies”; and, “indeed, whether the agency

15 has enough resources to fund a program at all.” Id. at 193 (internal citations omitted). “Congress may

16 always circumscribe agency discretion to allocate resources by putting restrictions in the operative

17 statutes.” Id. But as long as the agency abides by the relevant statutes (and whatever self-imposed

18 obligations may arise from regulations or grant instruments), the APA “gives the courts no leave to
19 intrude.” Id. Because the TVPRA confers HHS discretion to determine how best to allocate and

20 administer the funding for the UAC program, HHS’s decisions are not subject to review under the APA.

21                   3.      This Court lacks jurisdiction over Plaintiffs’ claims because the rights they
                             seek to enforce must be brought in the Federal Court of Claims.
22
             Although Plaintiffs cite to the APA as the basis for their claims, the rights that they seek to enforce,
23
     and the relief that they seek, are only available to them through contract, and thus their claims are
24
     precluded by the Tucker Act. 3 If a plaintiff’s claim is “concerned solely with rights created within the
25
     contractual relationship and has nothing to do with duties arising independently” of the contract, then their
26

27   3
       The Tucker Act provides: “The United States Court of Federal Claims shall have jurisdiction to render judgment
     upon any claim against the United States founded either upon the Constitution, or any Act of Congress or any
28   regulation of an executive department, or upon any express or implied contract with the United States.” 28 U.S.C.
     § 1491(a)(1) (emphasis added).
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 1 claim is based upon a contract with the United States and subject to the jurisdictional restrictions in the

 2 Tucker Act. North Side Lumber v. Block, 753 F.2d 1482, 1486 (9th Cir. 1985), cert. denied, 474 U.S. 931

 3 (1985) (citing Megapulse, Inc. v. Lewis, 672 F.2d 959, 967–68 (D.C. Cir. 1982)). The Tucker Act

 4 “impliedly forbids” APA claims involving government contracts. Id. at 1485 (citing H.R. Rep. No. 1656,

 5 94th Cong., 2d Sess. 13). To determine whether the Tucker Act precludes a contract claim “disguised” as

 6 an APA claim, the Ninth Circuit employs the D.C. Circuit’s Megapulse test. United Aeronautical Corp.

 7 v. United States Air Force, 80 F.4th 1017, 1025–26 (9th Cir. 2023) (citing Megapulse, 672 F.2d at 967–

 8 68). Under Megapulse, a court must decide whether “the source of the rights upon which the plaintiff

 9 bases its claims” arises under a contract and whether “the type of relief sought” is normally available as a

10 contract remedy. Id. “If rights and remedies are statutorily or constitutionally based, then districts courts

11 have jurisdiction; if rights and remedies are contractually based then only the Court of Federal Claims

12 does, even if the plaintiff formally seeks injunctive relief.” Id. (emphases in original).

13          Two weeks ago, a district court in the District of Columbia decided a case very similar to this one

14 and determined that the plaintiff organization’s claims resounded in contact and, thus, had to be brought

15 in the Court of Federal Claims. United States Conf. of Cath. Bishops v. U.S. Dep’t of State, No. 1:25-CV-

16 00465, 2025 WL 763738, at *2 (D.D.C. Mar. 11, 2025). Like here, the relief sought in Conf. of Cath.

17 Bishops was styled as a request for an injunction, yet the court correctly reasoned that, in actuality, the

18 relief sought was for “the Government to keep paying up.” Id. at *5. The district court therefore held that
19 the claim was “founded upon a contract” and “must be heard in Claims Court.” Id. at *7 (citing Sharp v.

20 Weinberger, 798 F.2d 1521, 1524 (D.C. Cir. 1986) (Scalia, J.) (“We know of no case in which a court has

21 asserted jurisdiction . . . to issue an injunction compelling the United States to fulfill its contractual

22 obligations.”)). So too here.

23          As explained, Section IV.A.2, supra, the relief Plaintiffs seek is for “the Government to keep

24 paying up,” Conf. of Cath. Bishops, 2025 WL 763738, at *2. Because they seek monetary relief, which is

25 unavailable under the APA but normally available in a contract dispute, their claim is precluded by the

26 Tucker Act. Id. at *7; United Aeronautical Corp., 80 F.4th at 1025–26.

27          Not only does Plaintiffs’ requested relief resound in contract, but the “source of rights” upon which

28 they base their claims arises from a contract. Megapulse, 672 F.2d at 967–68. Plaintiffs cannot separate

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 1 their causes of action from their contractual relationship with Acacia. Plaintiffs lack standing to assert

 2 claims against the United States absent the contract that HHS has with Acacia because without it they

 3 would have no injury. In other words, had Acacia never entered into a contract with HHS to provide direct

 4 legal services to UAC, Plaintiffs would have never received funding to provide such legal services and

 5 would have no injury to complain of. No statute or regulation requires HHS to compensate Plaintiffs for

 6 their legal services. Absent a statutory or constitutional entitlement to the appropriated funds that they

 7 seek, their injury arises from termination of a contract. Because Plaintiffs’ “source of rights” for funding

 8 from appropriations stems solely from their contract with Acacia, this Court lacks jurisdiction over their

 9 claims. Id. at 967–68; United Aeronautical Corp., 80 F.4th at 1025–26.

10                  4.      Plaintiffs cannot show that a favorable decision in this case would likely
                            redress their alleged injuries.
11
            To the extent Plaintiffs argue that they are not challenging the government’s decision to end the
12
     contract with Acacia but, rather, the decision to discontinue providing appropriated funds to any legal-
13
     services organization, they likewise lack standing to assert such a claim. The “irreducible constitutional
14
     minimum” of Article III standing consists of (1) “injury in fact,” (2) “a causal connection between the
15
     injury and the conduct complained of,” and (3) a likelihood “that the injury will be redressed by a favorable
16
     decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (quotation marks omitted). The
17
     third element of Article III standing, redressability, requires that it “be likely, as opposed to merely
18
     speculative, that the injury will be redressed by a favorable decision.” Lujan, 504 U.S. at 561 (citation and
19
     internal quotation marks omitted). To show a likelihood of redressability, Plaintiffs must “show that there
20
     would be a ‘change in a legal status’ as a consequence of a favorable decision” and that this change would
21
     significantly increase the likelihood that they would obtain the relief sought. Novak v. United States, 795
22
     F.3d 1012, 1019–20 (9th Cir. 2015) (quoting Renee v. Duncan, 686 F.3d 1002, 1013 (9th Cir. 2012)).
23
            The relief that Plaintiffs seek—if untethered to their contract claim—would not likely provide
24
     them with the monetary relief they seek. Enforcing the statutory authority Plaintiffs rely on in arguing that
25
     Congress intended to fund direct-legal services, 8 U.S.C. § 1232(c)(5), would have the opposite effect of
26

27 the relief Plaintiffs seek. As explained above, Congress did not intend to financially benefit Plaintiffs in

28 ensuring that UAC would have access to legal services; instead, Congress envisioned that such legal

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 1 services would generally be provided pro bono at no expense to the government. 8 U.S.C. § 1232(c)(5).

 2 If the Court were to enforce the plain language and purpose of Section 235 of the TVPRA, it would order

 3
     the government to seek out pro bono counsel for direct legal services and, to the extent possible, avoid
 4
     funding legal services at the government’s expense. Of course, this result would not redress Plaintiffs’
 5
     injuries, as they seek to be paid for their services and not acting in a pro bono capacity.
 6
            Likewise, because the Foundational Rule provides HHS with discretion as to whether and how to
 7
     disburse appropriations for direct legal services, Plaintiffs cannot show that ordering HHS to comply with
 8
     its regulation would redress their injury. Under the plain language of the regulation, HHS would maintain
 9
     the discretion to determine whether to fund direct-legal services for UAC, and, using that discretion, it
10
     would likely continue to decline to continue funding. Biswas Decl., ¶ 17. And even if HHS changed course
11
     and decided to exercise favorable discretion by funding direct legal services, it could contract with
12
     organizations other than Acacia and Plaintiffs. Id. ¶ 19. There is nothing that Plaintiffs can cite to that
13
     would require or encourage HHS to continue funding the Plaintiffs in this case. Id. ¶¶ 17-19. In other
14
     words, even if the agency continued funding direct legal services, Plaintiffs cannot show that it is likely
15
     that HHS will continue to contract with Acacia or with any of the Plaintiffs in this case. Id. Thus, Plaintiffs’
16
     redressability—that HHS would continue funding Acacia or any of the Plaintiffs—is speculative at best
17
     and insufficient to establish standing. Lujan, 504 U.S. at 561. Accordingly, Plaintiffs fail to show that they
18
     likely have Article III standing because enforcing the relevant policies and statutes would not redress their
19
     alleged injury.
20
                       5.   The Termination Contract Termination at Issue Does Not Violate the APA
21
            Plaintiffs erroneously argue that termination of direct legal services violate the APA. Although,
22
     the money was authorized by Congress, Congress never mandated its spending. When Congress does not
23
     require the agency to spend a certain amount of the appropriated fund, the agency has discretion over how
24
     much to spend up to the cap provided by Congress. Consumer Fin. Prot. Bureau v. Cmty. Fin. Servs. Ass’n
25
     of Am., Ltd., 601 U.S. 416, 432 (2024) (“The appropriation of “sums not exceeding” a specified amount
26
     did not by itself mandate that the Executive spend that amount; as was the case in England, such
27
     appropriations instead provided the Executive discretion over how much to spend up to a cap.”). When
28

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 1 courts determine whether money is mandatory or discretionary, they must look to the language of the

 2 appropriations bill to determine whether Congress required the funds appropriated to be used in a

 3 particular way. Salazar v. Ramah Navajo Chapter, 567 U.S. 182 (2012) (“An agency’s discretion to spend

 4 appropriated funds is cabined only by the ‘text of the appropriation,’ not by Congress’ expectations of

 5 how the funds will be spent, as might be reflected by legislative history.”) (quoting Int’l Union, UAW v.

 6 Donovan, 746 F.2d 855, 860-61 (D.C. Cir. 1984) (Scalia, J.))

 7                     6.      The Foundational Rule Does Not Require Funding for Taxpayer-funded
                               Direct Immigration Legal Representation Consistent with Available
 8                             Appropriations.
 9              Plaintiffs contend that Defendants have “ended” funding for legal representation of

10       unaccompanied alien children despite the availability of appropriated funds for this purpose through at

11       least September 30, 2027, and that, by the supposed ending, Defendants violate what they believe is a

12       mandate in the Foundational Rule to provide counsel for UAC to the extent there are appropriated funds

13       available to do so. ECF No. 1 ¶ 139. As Plaintiffs note, to establish a claim under United States ex rel.

14       Accardi v. Shaughnessy, 347 U.S. 260, 266–67 (1954), such a claim must show: (1) that the government

15       has violated its own regulations; and (2) that Plaintiffs are substantially prejudiced by that violation.

16       ECF No. 7 at 14 (citing Al Otro Lado, Inc. v. Mayorkas, 2024 WL 4370577, at *8–9 (S.D. Cal. Sept.

17       30, 2024)). To start, Plaintiffs have not shown that Defendants have violated their own regulations.

18       Indeed, Plaintiffs overlook the fact that the funding at issue here is required only “insofar that it is not

19       practicable for ORR to secure pro bono counsel.” 45 C.F.R. § 410.1309(a)(4). As HHS noted in the

20       preamble to its Foundational Rule, ORR, consistent with the TVPRA, makes every effort to use pro

21       bono legal services “to the greatest extent practicable” to secure counsel for UAC in these contexts.

22       Unaccompanied Children Program Foundational Rule, 89 Fed. Reg. 34384, 34,529 (Apr. 30, 2024).

23       HHS notes that ORR-funded legal services providers may help coordinate referral to pro bono legal

24       services and that ORR provides each UAC with a list of pro bono service providers. 4 Id. Historically,

25       HHS has acknowledged that, in some cases, it is impracticable for ORR to secure pro bono legal

26       services, such as in markets where demand exceeds supply, or during times of influx. Id. But where

27

28   4
         The list of pro bono service providers is statutorily required under the TVPRA. 6 U.S.C. § 279(b)(1)(I).
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 1       and when it is “impracticable” for ORR to secure pro bono legal services is a determination to be made

 2       by ORR. Id. (noting that the decision is subject to ORR’s “discretion.”). Further, since ORR must be

 3       selective in the kinds of legal services it funds, it therefore proposed to establish its discretion to fund

 4       legal services for specific purposes “based on its judgment and priorities.” 89 Fed. Reg. at 34,529. The

 5       clause “based on its judgment and priorities” reflects that ORR has considerable discretion to determine

 6       how the provision of legal services to UAC is funded. The determination of when such provision is

 7       “impracticable” is a decision to be made exclusively by ORR, applying its expertise, and not by

 8       Plaintiffs or the Court.

 9               Plaintiffs next overlook the fact that ORR shall fund legal service providers subject to ORR’s

10       discretion, 5   a clause further conditioned by the foundational rules’ “subject to . . . available

11       appropriations” language.      45 C.F.R. § 410.1309(a)(4).       Again, Plaintiffs cite to Congress’s

12       appropriations but overlook the clause that confers upon ORR the discretion to fund (or not fund) legal

13       service providers for direct immigration legal representation. Plaintiffs therefore have not made a

14       persuasive case that they will succeed on their claim that ORR is not following its own regulations.

15             Plaintiffs note that HHS has an obligation “to the greatest extent practicable” and consistent with

16       8 U.S.C. § 1362, to ensure that UAC have counsel in their immigration proceedings. HHS interpreted

17       “to the greatest extent practicable” to open the door to a grant of authority to pay for legal services

18       beyond that available from pro bono legal service providers. 89 Fed. Reg. at 24,529. “To the greatest

19       extent practicable,” however, cannot reasonably be read as a mandate for HHS to pay for direct

20       immigration legal representation for all UAC, unconditionally. In the preamble to the Foundational

21       Rule, HHS stated that it “understands that some commenters would like ORR “to fully fund legal

22       services to all [UAC].” Id. HHS also observed that it received comments questioning ORR’s legal

23       authority to pay for legal services for UAC and suggesting that ORR not use taxpayer funding for legal

24       representation for UAC. Id. HHS concluded that its approach to providing legal services to UAC, by

25       enabling them to access ORR has determined that “its approach to providing legal services to

26       unaccompanied children by enabling them to access pro bono counsel ‘to the greatest extent

27
     5
28    Defendants do not contest that the conditions “to the extent ORR determines that appropriations are
     available” and “subject to . . .available appropriations,” in 45 C.F.R. § 410.1309(a)(4), are met here.
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 1    practicable’ and funding legal services for additional unaccompanied children, as resources allow, is

 2    consistent with ORR’s statutory obligations.” Id. HHS’s interpretation of the INA and TVPRA – as

 3    Congress’s grant of discretion to ORR to provide funding for immigration services to UAC – is far

 4    from a mandate to do provide such funding.

 5          Similarly, and as Plaintiffs point out, HHS did acknowledge that most UAC need legal services

 6    to resolve their immigration status, and such representation appears to have a significant impact on

 7    court appearance. ECF No. 7 at 13 (citing 89 Fed. Reg. at 34,529). Further, as Plaintiffs note, HHS

 8    affirmed that “legal services providers who represent unaccompanied children undertake an important

 9    function” and explains ORR’s goal of “100 percent legal representation of unaccompanied children.”

10    Id. (citing 89 Fed. Reg. at 34,526). But Plaintiffs fail to explain why they believe that such services

11    must be funded by the taxpayer. HHS’s shift to increased emphasis and reliance upon pro bono service

12    providers might not be Plaintiffs’ preference, but it is consistent with the plain language of section

13    1309(a)(4) and HHS’s explanations for why it sculpted the language in 1309(a)(4) as it did. In their

14    motion for a TRO, however, Plaintiffs are silent regarding the importance of pro bono counsel in

15    providing advice and legal representation for UAC, an importance reflected in both section 1309(a)(4)

16    and the preamble. ECF No. 7.

17          B.      Plaintiffs Will Not Face Irreparable Harm Without a TRO

18          The “most important” Winter factor is whether Plaintiffs demonstrate irreparable harm. Caribbean

19 Marine Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988); see also Koller v. Brown, 224 F. Supp.

20 3d 871, 879 (N.D. Cal. 2016) (noting it is the “single most important prerequisite” for a TRO). The

21 “possibility” of harm is insufficient to secure a TRO; Plaintiffs must show that “irreparable injury is likely

22 in the absence of an injunction.” Winter, 555 U.S. at 22 (emphasis in original). “Speculative injury” does

23 not suffice; Plaintiffs must show both immediacy and likelihood that they will be harmed absent a TRO.

24 See Caribbean Marine Servs. Co., 844 F.2d at 674. Where “[m]ultiple contingencies must occur” before

25 Plaintiffs’ claimed injuries, the injuries are “too speculative” to justify a TRO. Id. at 675.

26          Plaintiffs have failed to make the requisite threshold “clear showing of irreparable harm.” See

27 Garcia, 786 F.3d at 746 (reiterating that “[h]arm must be proved, not presumed”). Plaintiffs have failed

28 to demonstrate irreparable harm sufficient to warrant extraordinary injunctive relief.             Although

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 1 Plaintiffs characterize their harm as damaging their ability to provide services, their harm is merely

 2 monetary. “Irreparable harm is traditionally defined as harm for which there is no adequate legal remedy,

 3 such as an award of damages.” Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014);

 4 Los Angeles Mem’l Coliseum Comm’n v. Nat’l Football League, 634 F.2d 1197, 1202 (9th Cir. 1980)

 5 (“Monetary injury is not normally considered irreparable.”). Economic damages are not traditionally

 6 considered irreparable because the injury can later be remedied by a damage award. See Sampson v.

 7 Murray, 415 U.S. 61, 90 (1974) (“[I]t seems clear that the temporary loss of income, ultimately to be

 8 recovered, does not usually constitute irreparable injury . . . .” (internal quotation omitted)); Caribbean

 9 Marine Servs. Co. v. Baldridge, 844 F.2d 668, 676 (9th Cir. 1988) (“Subjective apprehensions and

10 unsupported predictions of revenue loss are not sufficient to satisfy a plaintiff’s burden of demonstrating

11 an immediate threat of irreparable harm.”); Arcamuzi v. Continental Air Lines, Inc., 819 F.2d 935, 938

12 (9th Cir. 1987) (“[Temporary economic loss alone generally is not a basis for injunctive relief.”);

13 Goldie’s Bookstore, Inc. v. Superior Court, 739 F.2d 466, 471 (9th Cir. 1984) (“Mere financial injury . . .

14 will not constitute irreparable harm if adequate compensatory relief will be available in the course of

15 litigation.”).

16          While Plaintiffs characterize their harm as “frustrating their mission,” the actual harm that

17 Plaintiffs allege is “lack of funding,” which is plainly monetary harm. See ECF No. 7 at 16 (“There is no

18 question that ceasing funding for legal representation services for UAC and terminating the existing
19 services will cause imminent harm that cannot be later remediated.”) (emphasis added); id. at 17

20 (“Plaintiffs have relied on Congress’s and Defendants’ assurances that funding for these critical resources

21 will continue to be available.”) (emphasis added); id. (“Sustaining these services without this funding

22 will cost the Northwest Immigrant Rights Project $200,000 a month.”) (emphasis added). Plaintiffs

23 cannot avoid the well-established case law holding that monetary loss (even if significant), is not

24 irreparable harm.

25          Plaintiffs next allege that “ceasing funding for legal representation services for UAC and

26 terminating existing contracts will cause imminent harm” because it will cause them to cease providing

27 certain legal services. ECF No. 7 at 16. But that too is without merit as the Cancellation Order does not

28 prevent Plaintiffs from continuing to provide legal services – it merely prevents them from receipt of

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 1 federally funded payment for those services. Indeed, Plaintiffs may freely provide these services pro

 2 bono, which is in line with the plain language and purpose of 8 U.S.C. § 1232(c)(5), and would be

 3 welcomed by Defendants.

 4          Plaintiffs’ further assertion that “impacted attorneys and staff have years of individualized

 5 experience and wisdom with clients making rehiring layoffs impracticable” is speculative and attenuated.

 6 ECF No. 7 at 18. “Certain impending” injury cannot be shown when the asserted injury is based on a

 7 “speculative chain of possibilities,” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013), or on

 8 “speculation about the decisions of independent actors,” id. at 414. As the D.C. Circuit has cautioned:

 9 “Because of the generally contingent nature of predictions of future third-party action,” a court should

10 be “sparing in crediting claims of anticipated injury by market actors and other parties alike.” Arpaio v.

11 Obama, 797 F.3d 11, 23 (D.C. Cir. 2015). The Court should likewise decline to entertain Plaintiffs’

12 speculative assertion about what third parties—individuals who might be laid off—would do if called

13 back to work.

14          C.      The Balance of the Equities and Public Interest Weigh Against Entry of a Temporary
                    Restraining Order.
15
            Where the government is a party, the balance of equities and public interest factors merge. Drakes
16
     Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v. Holder, 556 U.S. 418, 435
17
     (2009)). Courts “explore the relative harms to applicant and respondent, as well as the interests of the
18
     public at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305 (1991)
19
     (internal quotation marks and citation omitted). In weighing these factors, Plaintiffs rely on their previous
20
     arguments pointing to their allegation that harm arises from Defendants’ “shirking [of] their voluntarily
21
     undertaken obligations.” Motion at 19. But as described above, neither the purported merit of their claims
22
     nor their alleged injury support entry of a TRO. This is particularly true because Plaintiffs make no
23
     attempt to explain how the broad relief requested in their proposed order (Dkt. 7-3) is tethered to the harms
24
     they claim. On the other hand, Defendants are legally entitled to make decisions about the disbursement
25
     of their federal grants. See, e.g., 8 U.S.C. § 1232; 45 C.F.R. § 410.
26
            Here, the balance of the equities and public interest tip decisively in Defendants’ favor. If the
27
     status quo is preserved during the pendency of the case, Plaintiffs can still obtain any funding they may
28

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 1 be entitled to as a result of the case’s ultimate resolution. But the opposite is not true—if Plaintiffs are

 2 given access now, and draw down the funds throughout the litigation, Defendants will be left with no

 3 meaningful recourse even if they prevail. Defendants will bear all the risk if the Court enters a preliminary

 4 injunction, whereas Plaintiffs will bear none if it denies one. Such a proposition turns Plaintiffs’ burden

 5 of establishing irreparable harm on its head. In short, the equities clearly favor Defendants.

 6          Plaintiffs’ motion fails to acknowledge the governmental harm that will be imposed through

 7 injunctive relief here, suggesting that the TRO is merely to spend appropriated funds. This ignores the

 8 substantial harm an injunction imposes by usurping executive branch authority to manage complex

 9 programs and allocate billions in taxpayer funds. Forcing continuation of one specific contract hinders

10 ORR’s ability to adapt to potentially changing migration flows, shelter needs, health concerns, or to

11 implement potentially more cost-effective or impactful service models across the entire UAC program

12 spectrum.

13          What’s more, the public interests at stake here include effective governance. While Plaintiffs

14 legitimately describe the public interest in protecting vulnerable children and upholding the TVPRA, the

15 public interest also encompasses the efficient, flexible, and responsible administration of federal

16 programs, interests which are opposed to forcing the government to continue to fund paid attorneys. It

17 includes ensuring ORR can make difficult choices to best serve the overall needs of all unaccompanied

18 alien children within its care, using its expertise and the discretion Congress provided. Judicial
19 micromanagement of appropriations allocation via Plaintiffs’ requested TRO arguably undermines, rather

20 than serves, the broader public interest in competent government.

21          Indeed, an injunction here would effectively disable the administration from effectuating its

22 executive authority consistent with their constitutional and statutory authorities. See Maryland v. King,

23
     567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (cleaned up) (“[a]ny time a [government] is
24
     enjoined by a court from effectuating statutes enacted by representatives of its people, it suffers a form of
25
     irreparable injury.”). Where the Government is legally entitled to make decisions about the disbursement
26
     or allocation of federal funds, but is nonetheless ordered to release the funds, such funds may not be
27

28 retrievable afterwards. While Plaintiffs emphasize the mandate in 8 U.S.C. § 1232(c)(5) that HHS “shall

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 1 ensure . . . that all unaccompanied alien children . . . have counsel,” this mandate is explicitly qualified by

 2 “to the greatest extent practicable”. This is not mere suggestion; it is the legal standard set by Congress,

 3
     inherently requiring agency judgment. Here, “practicable” arguably necessitates balancing the goal of
 4
     providing counsel against competing demands, resource limitations across the entire UAC program,
 5
     administrative feasibility, and the effectiveness of different service delivery models. It does not mandate
 6
     funding one specific contract indefinitely, irrespective of other considerations.
 7

 8          In sum, the decision to terminate funding under the contract represents a permissible exercise of

 9 the discretion afforded to ORR by Congress under 8 U.S.C. § 1232(c)(5), and codified in its own

10 regulations, see 45 C.F.R. § 410.1309(a)(4). It is not contrary to law or arbitrary and capricious. An

11 injunction would improperly substitute judicial preference for agency judgment, unduly restricting the

12 executive’s ability to allocate resources and adapt to evolving needs. As a result, the balance of equities

13 and the public interest, properly considered, weigh against granting the extraordinary relief of a TRO.

14          D.      If the Court issues a TRO, it should require Plaintiffs to Post Security.

15          Finally, if the Court deems a TRO warranted (which it should not), Plaintiffs should be required

16 to post bond. Rule 65(c) provides that a court “may issue a preliminary injunction or a temporary

17 restraining order only if the movant gives security in an amount that the court considers proper to pay the

18 costs and damages sustained by any party found to have been wrongfully enjoined or restrained.” Fed. R.
19 Civ. P. 65(c). The circumstances here warrant requiring Plaintiffs to provide security in an amount that

20 could compensate Defendants for the losses caused by a preliminary injunction (in the event that

21 Defendants are found to have been wrongfully enjoined). To the extent that the Court grants relief to

22 Plaintiff, Defendants respectfully request that the Court require Plaintiffs to post security for any taxpayer

23 funds distributed during the pendency of the Court’s Order. Since this case is ultimately about financial

24 allocation, it thus follows that Rule 65(c)’s explicit requirements necessitate Plaintiffs’ posting of security.

25                                           V.        CONCLUSION

26 For the foregoing reasons, the Court should deny Plaintiffs’ motion for a temporary restraining order.

27

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 1
                                    CERTIFICATE OF COMPLIANCE
 2

 3         The undersigned, counsel of record for Defendants certifies that this brief contains 22 pages,

 4 which complies with the word limit of this Court’s Standing Order, section 6 and L.R. 11-6.1.

 5
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